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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TIAWAN BRITTON,                       )
                                      )
      Plaintiff,                      )
                                      )         CIVIL ACTION
vs.                                   )
                                      )         FILE No. _____________________
GEORGIA-ALABAMA                       )
COMMERCIAL INVESTMENTS,               )
LLC,                                  )
     Defendant.                       )

                                  COMPLAINT

      COMES NOW, TIAWAN BRITTON, by and through the undersigned

counsel, and files this, his Complaint against Defendant GEORGIA-ALABAMA

COMMERCIAL INVESTMENTS, LLC pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                                 JURISDICTION

      1.      This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

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                                      PARTIES

      2.      Plaintiff Tiawan Britton (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Atlanta, Georgia

(Fulton County).

      3.      Plaintiff is disabled as defined by the ADA.

      4.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

      5.      Plaintiff uses a wheelchair for mobility purposes.

      6.      Defendant     Georgia-Alabama       Commercial       Investments,    LLC

(hereinafter “Defendant”) is a Georgia limited liability company, and transacts

business in the state of Georgia and within this judicial district.

      7.      Defendant may be properly served with process via its registered

agent for service, to wit: Scott A. Moon, 760 Briscoe Boulevard., Lawrenceville,

Georgia 30046.

                            FACTUAL ALLEGATIONS

      8.      On or about November 10, 2018, Plaintiff was a customer at

“Texaco,” a business located at 5084 Old National Highway, College Park,

Georgia 30349.


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      9.      Defendant is the owner or co-owner of the real property and

improvements that the Facility is situated upon and that is the subject of this action.

(The structures and improvements situated upon said real property shall be

referenced herein as the “Facility,” and said real property shall be referenced

herein as the “Property”).

      10.     Plaintiff lives in the near vicinity of the Facility and Property.

      11.     Plaintiff’s access to the business(es) located at 5084 Old National

Highway, College Park, Georgia 30349, Fulton County Property Appraiser’s

parcel number 13 0061LL1396 (“the Property”), and/or full and equal enjoyment

of the goods, services, foods, drinks, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Facility and Property, including those set forth in

this Complaint.

      12.     Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      13.     Plaintiff intends to revisit the Facility and Property to purchase goods


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and/or services.

      14.    Plaintiff travelled to the Facility and Property as a customer,

encountered the barriers to access at the Facility and Property that are detailed in

this Complaint, engaged those barriers, suffered legal harm and legal injury, and

will continue to suffer such harm and injury as a result of the illegal barriers to

access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      15.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      16.    The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      17.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      18.    The Facility is a public accommodation and service establishment.

      19.    The Property is a public accommodation and service establishment.

      20.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

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      21.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      22.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      23.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      24.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

but could not fully do so because of his disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit his access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      25.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Facility


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and Property, but will be unable to fully do so because of his disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit his access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      26.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      27.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      28.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal


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enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.      The Property lacks an accessible route from the public

              sidewalk to the accessible entrances of the Facility, in

              violation of section 206.2.1 of the 2010 ADAAG

              standards.

      b.      The two accessible parking spaces on the Property are

              not adequately marked, in violation of section 502.1 of

              the 2010 ADAAG standards.

      c.      The access aisle adjacent to the accessible parking spaces

              on the Property is not level, due to the presence of a ramp

              within the boundaries of said access aisle, in violation of

              section 502.4 of the 2010 ADAAG standards.

      d.      The vertical reach to the beverage dispensers in the

              Facility exceeds the maximum permissible height of 48

              (forty-eight) inches above the finished floor, in violation

              of section 308.3.1 of the ADAAG standards.

      e.      The interior of the Facility has sales and services

              counters lacking any portion of the counter that has a


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              maximum height of 36 (thirty-six) inches from the

              finished floor, in violation of section 904.4 of the 2010

              ADAAG standards. This violation made it difficult for

              Plaintiff to properly transact business at the Facility.

      f.      The credit card equipment on the counter in the Facility

              is at a height exceeding 48 (forty-eight) inches from the

              finished floor, in violation of section 308.2 of the 2010

              ADAAG standards.

      g.      The lavatories and/or sinks in the restrooms of the

              Facility have exposed pipes and surfaces thereunder that

              are not insulated or configured to protect against contact

              with the skin, in violation of section 606.5 of the 2010

              ADAAG standards.

      29.     The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      30.     Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.


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      31.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      32.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      33.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      34.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      35.    Upon information and good faith belief, the Facility and Property

have been altered since 2010.

      36.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      37.    Plaintiff is without adequate remedy at law, is suffering irreparable


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harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      38.    Plaintiff’s requested relief serves the public interest.

      39.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      40.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      41.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make it readily accessible to and useable by individuals


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             with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: November 13, 2018.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (800) 238-3857
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich



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